                                                                                                Case 2:14-cv-00305-RFB-VCF Document 330 Filed 05/29/18 Page 1 of 2



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                                                                                                                            UNITED STATES DISTRICT COURT
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                                                                                                                              FOR THE DISTRICT OF NEVADA
                                                                                          16

                                                                                          17   CHARLES GRAHL, individually and on                  Case No.: 2:14-cv-00305-RFB-VCF
                                                                                               behalf of all others similarly situated,
                                                                                          18
                                                                                                                      Plaintiff,                           JOINT STATUS REPORT
                                                                                          19
                                                                                               vs.
                                                                                          20
                                                                                               CIRCLE K STORES, INC., a foreign
                                                                                          21   corporation; DOES I through V, inclusive; and
                                                                                               ROE corporations I through V, inclusive,
                                                                                          22
                                                                                                                      Defendants.
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                                                                                          25             Pursuant to the Court’s April 12, 2018 Minute Order in Chambers (“Order”) (ECF No.
                                                                                          26   329), Plaintiff Charles Grahl (“Plaintiff”) and Defendant Circle K Stores, Inc. (“Circle K”), by and
                                                                                          27   through undersigned counsel, hereby submit this Joint Status Report regarding settlement in this
                                                                                          28   matter.
                                                                                                Case 2:14-cv-00305-RFB-VCF Document 330 Filed 05/29/18 Page 2 of 2



                                                                                           1          Pursuant to the February 14, 2018 Joint Status Report, the Parties settled all of their

                                                                                           2   disputes via private mediation and were in the process of preparing the settlement documents.

                                                                                           3   (ECF No. 328.) Since that time, both Plaintiff and Circle K have suffered losses that have

                                                                                           4   impacted the parties’ timeline to finalize both the settlement documents and class data. Because of

                                                                                           5   these unfortunate delays, the parties believe that they can finalize and file the settlement

                                                                                           6   documents on or before June 19, 2018.

                                                                                           7
                                                                                               DATED this 29th day of May, 2018.              DATED this 29th day of May, 2018.
                                                                                           8
                                                                                               REMPFER MOTT LUNDY, PLLC                       OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                                                           9                                                  P.C.
                                                                                          10   /s/ Joseph N. Mott                             /s/ Dana B. Salmonson
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